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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                   AT COVINGTON
                         CIVIL ACTION NO. 2:18-CV-120-WOB-CJS

UNITED STATES OF AMERICA                                                               PLAINTIFF

VS.

MATTHEW PAUL MOCAHBEE., et al                                                      DEFENDANTS

                         *ELECTRONICALLY FILED*
                   ANSWER OF JESSICA RENEE MOCAHBEE
______________________________________________________________________________

       Comes now the Defendant, JESSICA RENEE MOCAHBEE and for her Answer to the

Complaint states as follows:

                                         FIRST DEFENSE

       The Complaint fails to state a cause of action upon which relief can be granted against the

answering Defendant so therefore must be dismissed and held for naught.

                                       SECOND DEFENSE

       The Defendant pleads all affirmative defenses available through the Federal Rules of

Civil Procedure.

                                        THIRD DEFENSE

       1.      That the Defendant is without sufficient knowledge to either admit or deny the

allegations contained in paragraphs 1, 2, 3, 4, 5, 6, 8, 9, 10, 11, 13, 15, 17, 18, 19, 20, 21, and 22

of the Complaint so therefore must deny same.

       2.      That the Defendant denies the allegations set forth in paragraph 7 of the

Complaint.

       3.      The Defendant admits the allegations set forth in paragraphs 12 and 14 of the

Complaint.
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       4.      In regards to Paragraph 16 of the Complaint, the Defendant states that she is not

currently married.

       WHEREFORE, the Defendant prays for the following relief:

       1.      That the Complaint against the Defendant, Jessica Renee Mocahbee be dismissed

with prejudice;

       2.      For attorney fees;

       3.      For a jury trial;

       4.      For any and all other relief to which she may be entitled.



                                              STEVEN N. HOWE, P.S.C.



                                              S/Steven N. Howe________________________
                                              STEVEN N. HOWE
                                              Attorney for the Defendant
                                              94 South Main Street
                                              Dry Ridge, Kentucky 41035
                                              (859) 824-0500



                                       CERTIFICATION

       On August 10, 2018, I electronically filed this document through the ECF system, which

will send a notice of electronic filing to: George Mason, Jr. Attorney for Plaintiff, 3070

Lakecrest Circle, Suite 400, PMB 278, Lexington, KY 40513.


                                              __S/Steven N. Howe________________________
                                              STEVEN N. HOWE
